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                    11
                                                UNITED STATES DISTRICT COURT
                    12
                                               CENTRAL DISTRICT OF CALIFORNIA
                    13

                    14 LUCIA CORTEZ, individually and as successor Case No. 2:21-cv-05172-AB-AS
                         and heir of LORENZO CORTEZ, deceased,
                    15 RACHEL KAUFMAN, individually and as DEFENDANTS’ NOTICE OF MOTION AND
                         successor and heir of SHLOMO MIZRACHI, MOTION TO DISMISS PLAINTIFF LUCIA
                    16 deceased,                                   CORTEZ’COMPLAINT;MEMORANDUMOF
                                                                   POINTS AND AUTHORITIES IN SUPPORT
                    17                   Plaintiffs,               THEREOF
                                 vs.
                    18                                             [Fed. R. Civ. P. 12(b)(1), (6)]
                         PARKWEST REHABILITATION CENTER,
                    19   LLC, a California corporation; CRYSTAL Date: August 6, 2021
                         SOLÓRZANO, an individual,and DOES1through Time: 10:00 a.m.
                    20   100, inclusive,                           Crtrm: 7B
                    21               Defendants.
                    22

                    23        TO PLAINTIFFS HEREIN AND PLAINTIFFS’ ATTORNEYS OF RECORD:
                    24        PLEASE TAKE NOTICE that on August 6, 2021, at 10:00 a.m., or as soon
                    25 thereafter as the matter can be heard, before the Honorable André Birotte Jr., in Courtroom

                    26 7B, at 350 West First Street, Los Angeles, California, 90012, Defendants PARKWEST

                    27 REHABILITATION CENTER LLC and CRYSTAL SOLÓRZANO (collectively

                    28 “Defendants” and/or “Parkwest,” “Ms. Solórzano”), will move to dismiss the Complaint
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BRISBOIS                                                        1                    Case No. 2:21-cv-05172-AB-AS
BISGAARD
& SMITH LLP                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF LUCIA CORTEZ’
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                     1 brought by Lucia Cortez, individually and as successor and heir of Lorenzo Cortez,

                     2 deceased, (“Plaintiff”) for: 1) Negligence/Willful Misconduct; 2) Elder Abuse and

                     3 Neglect [Wel. & Instit. Code § 15600 et. seq..]; and 3)Wrongful Death.

                     4        As set forth in the accompanying memorandum incorporated by reference herein,
                     5 Defendants move pursuant to Fed. R. Civ. P. 12(b)(6) and/or 12(b)(1) on the grounds that

                     6 it is immune from Plaintiff’s suit under the Public Readiness and Emergency Preparedness

                     7 Act (“PREP Act” or “Act”), 42 U.S.C. §§ 247d-6d, 247d-6e. Specifically, the PREP Act’s

                     8 broad immunity protection applies to these Defendants because they are “covered

                     9 persons” engaged in “recommended activities” for “covered countermeasures” during the
                    10 COVID-19 global pandemic and national emergency. Plaintiff’s Complaint alleges that

                    11 Defendants did not employ adequate infection control countermeasures, including proper

                    12 isolation, testing and screening procedures for residents. As such Plaintiff’s claims are

                    13 pre-empted and barred by federal law, and must be dismissed.

                    14        First, Plaintiff’s claims against Defendants should be dismissed because
                    15 Defendants are “covered persons” that engaged in “recommended activities” regarding

                    16 the use or administration of “covered countermeasures” and are immune from Plaintiff’s

                    17 claims under the PREP Act. All claims raised in Plaintiff’s Complaint, other than those

                    18 specifically alleging willful misconduct, are completely barred by the immunity provided

                    19 to Defendants under the PREP Act. Defendants are therefore immune from suit pursuant

                    20 to the PREP Act.

                    21        Second, Plaintiff’s claims against Defendants should be dismissed because Plaintiff
                    22 failed to exhaust administrative remedies under the PREP Act, as required, before filling

                    23 suit. The PREP Act requires Plaintiff to exhaust certain pre-litigation administrative

                    24 remedies before filing suit. See 42 U.S.C. §§ 247d-6d(c)(3), 247d-6e(d)(1), and 247d-

                    25 6e(a). Here, Plaintiff failed to do so despite that the claim implicates the PREP Act.

                    26        Third, Plaintiff’s claims against Defendants should be dismissed because Plaintiff
                    27 failed to comply with the procedural requirements for asserting an alleged “willful

                    28 misconduct” claim under the PREP Act. The PREP Act requires Plaintiff to comply with
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BRISBOIS                                                        2                    Case No. 2:21-cv-05172-AB-AS
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                     1 stringent procedural requirements, including the requirement that claims be pled with

                     2 particularity and an affidavit from a physician and certified medical documentation be

                     3 provided, before asserting a “willful misconduct” claim under the PREP Act. See 42

                     4 U.S.C. § 247d-6d(e). Here, despite the fact that Plaintiff asserts “willful misconduct”

                     5 claims against Defendants, Plaintiff does not comply with these statutory requirements.

                     6          Fourth, Plaintiff’s claims against Defendants should be dismissed because Plaintiff
                     7 failed to file the “willful misconduct” claims in the District Court for the District of

                     8 Columbia as also required by the PREP Act. The PREP Act requires a Plaintiff to file any

                     9 “willful misconduct” claims in the District Court for the District of Columbia. See 42
                    10 U.S.C.A. § 247d- 6d(c)(4); § 247d-6d(e)(1) and (5). Because Plaintiff failed to comply

                    11 with this requirement, Defendants are entitled to dismissal of the Complaint without

                    12 prejudice–or to a transfer of this matter to the District Court for the District of Columbia—

                    13 on this basis alone.

                    14          Fifth, Plaintiff’s claims against Defendants should be dismissed because the PREP
                    15 Act completely preempts Plaintiff’s state law claims as confirmed by the Declaration of

                    16 the Secretary of Health and Human Services (“HHS”) (including all amendments thereto)

                    17 and, the relevant advisory opinions. See 42 U.S.C.A. § 247d-6d(b)(8); RFJN–Ex.5 and 9.

                    18 Accordingly, Defendants are entitled to dismissal of Plaintiff’s claims on this basis as

                    19 well.

                    20          Sixth, this Court lacks subject matter jurisdiction because the PREP Act’s
                    21 immunity provision preempts all of Plaintiff’s state law claims. To the extent an exception

                    22 is claimed for allegations of willful misconduct, those exceptions must be referred to the

                    23 United States District Court for the District of Columbia, as explained supra. 42 U.S.C.

                    24 §§ 247d-6d(c)(4): 247d-6d(e)(1), and (5).

                    25          Finally, as an independent ground for dismissal, Plaintiff’s First, Second, and Third
                    26 Causes of Action fail to state a claim under California law. Plaintiff’s vague allegations

                    27 amount to nothing more than unsupported conclusions, and Plaintiff fails to state facts

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                     1 sufficient to allege cognizable claims against Defendants, even if they were not preempted

                     2 and barred by the PREP Act.

                     3          This motion is based upon this Notice of Motion; the Memorandum of Points and
                     4 Authorities below; the Request for Judicial Notice; the Declaration of Rita. R. Kanno, and

                     5 the pleadings and correspondence on file with the Court; oral argument of counsel; and

                     6 such arguments and authorities as may be presented at or before the hearing 1.

                     7          Defendants respectfully request a hearing and oral argument in this matter pursuant
                     8 to Fed. R. Civ. P. 12(i). This motion is made following the conference of counsel pursuant

                     9 to L.R.7-3, which Defendants commenced relative to Plaintiff’s Complaint in writing on
                    10 June 25, 2021. (Attached to the Declaration of Rita R. Kanno, filed concurrently

                    11 herewith.)

                    12 DATED: July 2, 2021                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                    13                                           By: /s/ Rita R. Kanno
                                                                     Kathleen M. Walker
                    14                                               Lann G. McIntyre
                                                                     Rita R. Kanno
                    15                                               Attorneys for Defendants
                                                                     PARKWEST REHABILITATION CENTER LLC and
                    16                                               CRYSTALSOLÓRZANO
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                         1
                    23     Should this matter proceed on the underlying merits, Defendants reserve the right to
                         compel arbitration. Because federal jurisdiction is predicated upon the question of whether
                    24   the PREP Act applies to Plaintiff’s claims, and because that issue is dispositive on
                         jurisdictional grounds, it would be improper for Defendants to move, in the alternative, to
                    25   compel arbitration at present. Defendants do not assert that there is an independent basis
                         for federal jurisdiction to compel arbitration; rather, the only basis for federal jurisdiction
                    26   asserted is under the PREP Act and the Federal Officer Removal statute. Thus, if this
                         Court determines that the PREP Act is inapplicable, or otherwise remands the matter to
                    27   state court for lack of federal question jurisdiction, Defendants reserve the right to move
                         to compel arbitration in state court.
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BRISBOIS                                                         4                    Case No. 2:21-cv-05172-AB-AS
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                     1                 MEMORANDUM OF POINTS AND AUTHORITIES
                     2 I.      INTRODUCTION
                     3         From the onset of the novel coronavirus, healthcare providers, including long term
                     4 care facilities, have been on the frontlines working diligently to respond to this

                     5 unprecedented global pandemic. The coronavirus left many skilled nursing facilities in

                     6 unchartered territory forcing federal, state and local officials to work tirelessly with these

                     7 facilities to implement infection control policies to stop the spread. During the events at

                     8 issue in this complaint, there was no therapeutic treatment or vaccine available. Instead,

                     9 the government issued ever evolving guidelines and recommendations which frequently
                    10 contradicted their prior guidelines. However, facilities like Parkwest continued to

                    11 implement infection control policies and countermeasures to protect its residents from

                    12 contracting COVID-19. Despite these efforts, Lorenzo Cortez (“Decedent” or “Mr.

                    13 Cortez”), a resident of Parkwest, contracted COVID-19 and subsequently passed away.

                    14 Mr. Cortez’ contraction of COVID-19 is an example of how COVID-19 challenges our

                    15 skilled nursing facilities and reinforces the need for legal immunities so healthcare

                    16 providers such as Parkwest are not subject to lawsuits which tax their time and energy,

                    17 when such resources should be directed toward patient care. This Court can and should

                    18 now decide, as a matter of federal law, that Parkwest is immune from liability in this

                    19 case.

                    20         On April 20, 2021, Plaintiff filed this action against Parkwest alleging
                    21 Negligence/Willful Misconduct, Elder Abuse and Neglect (Welf. & Inst. Code, § 15600,

                    22 et seq.), and Wrongful Death. Plaintiff’s Complaint alleges that due to the wrongful acts

                    23 and omissions of Parkwest, Mr. Cortez contracted the novel coronavirus which caused

                    24 him substantial pain and suffering and ultimately led to his death. Plaintiffs also seek

                    25 “enhanced remedies” under the Elder Abuse/Neglect cause of action based on the alleged

                    26 willful misconduct of Defendants. (RFJN–Ex.1.)

                    27         Plaintiff contends that Mr. Cortez’s contraction of COVID-19 was caused by the
                    28 manner in which Defendants used, administered and allocated COVID-19
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                     1 countermeasures as part of their infection control program, including their isolation,

                     2 testing and screening procedures. (See, RFJN, Ex.1-Complaint, pg. ¶ 22, 23, 24, 29.)

                     3 Specifically, Plaintiff raise issues with regard to the manner in which Parkwest used

                     4 countermeasures to monitor temperature and otherwise screen staff, residents and visitors

                     5 at the facility. (Id.) Plaintiff therefore contends Defendants’ administration of insufficient

                     6 COVID-19 countermeasures resulted in Mr. Cortez’ contraction of the virus and death.

                     7         The Court must consider the entire Complaint as pled by Plaintiff. It is the
                     8 decisions that Defendants made in how they allocated and administered COVID-19

                     9 infection control program and these countermeasures that Plaintiff blames for her loss.
                    10 Plaintiffs cannot allege that Mr. Cortez’s death was due to a failure to properly implement

                    11 an effective infection control program to prevent COVID-19 without implicating covered

                    12 countermeasures under the PREP Act. The centerpiece of any infection control program

                    13 used to prevent the spread of the virus includes the use of PPE and COVID-19 testing, as

                    14 those countermeasures are the main line of defense.

                    15         At all relevant times, Parkwest followed instructions issued by the Centers for
                    16 Disease Control and Prevention (“CDC”), California Department of Public Health

                    17 (“CDPH”), Centers for Medicare and Medicaid Services (“CMS”) and implemented an

                    18 infection control program that included prioritizing PPE and allocating screening

                    19 measures and testing. Despite the aggressive efforts of so many institutions in the form

                    20 of lockdowns, visitation restrictions, revised infection control protocols, over 605,000

                    21 people in the United States have died from COVID-19. Thus, the PREP Act was invoked

                    22 to provide a “whole of nation” approach to fighting COVID-19.

                    23         Defendants move pursuant to Fed. R. Civ. P. 12(b)(6) and/or 12(b)(1), on the
                    24 grounds that it is immune from Plaintiff’s suit under the PREP Act, 42 U.S.C. §§ 247d-

                    25 6d, 247d-6e. The PREP Act’s immunity protection applies to Defendants because they

                    26 are “covered persons” engaged in “recommended activities” involving “covered

                    27 countermeasures” during the COVID-19 global pandemic and national emergency, as

                    28 those terms are defined in the Act. Plaintiff’s state law claims of negligence, elder abuse,
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                     1 and wrongful death all arise out of Defendants’ manner of distribution, allocation,

                     2 administration, or use of countermeasures to prevent the spread of COVID-19 within

                     3 Parkwest as well as their activities involving the diagnosis, and treatment of COVID-19.

                     4 Thus, Plaintiff’s claims fit squarely within the scope of immunity under the PREP Act.

                     5        The PREP Act provides a limited exception to its immunity protections where
                     6 defendant has engaged in “acts or omissions” that meet the specified definition of “willful

                     7 misconduct.” 42 U.S.C. § 247d-6d(c)(1)&(d). Plaintiff’s Complaint does not fit within

                     8 this exception as, at most, the Complaint alleges negligent and willful conduct only for

                     9 enhanced remedies. (RFJN–Ex. 1.) The Complaint includes allegations that “Parkwest
                    10 acted recklessly, maliciously, oppressively and fraudulently...took intentional and cruel

                    11 actions in its reckless response…to the COVID-19 virus…” (RFJN–Ex. ¶ 4.) Lone

                    12 allegations such as this does not bring the Complaint within the purview of a willful

                    13 misconduct claim under the Act. However, even if this sole unsupported allegation states

                    14 a claim, which it does not, such a claim could only be maintained after an exhaustion of

                    15 pre-litigation administrative remedies, and it must be brought in federal court in

                    16 Washington, D.C. See 42 U.S.C. § 247d-6d(c)(3). Thus, even if Plaintiff had sufficiently

                    17 alleged willful misconduct, this matter should be dismissed as the claims are not properly

                    18 before this Court.

                    19        Additionally, Plaintiff’s claims for Elder Abuse and Neglect, as well as Negligence
                    20 and Wrongful Death, also fail as the facts pled do not state valid causes of action under

                    21 California law. In support of these claims, Plaintiff alleges that Defendants failed to

                    22 comply with a number of state laws and regulations and federal regulations governing

                    23 skilled nursing facilities. However, Plaintiff fails to plead any facts in support of such

                    24 allegations and, moreover, fail to set forth facts establishing how any such alleged

                    25 violations caused or contributed to Mr. Cortez contracting COVID-19.

                    26        For these reasons, and as more fully explained herein, Defendant respectfully
                    27 request that Plaintiff’s Complaint be dismissed with prejudice in its entirety.

                    28
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                     1 II.     FACTUAL BACKGROUND
                     2         Mr. Cortez was a resident of Parkwest, a skilled nursing facility licensed by the
                     3 State of California. (See, RFJN, Ex.1- ¶ 6-10.) During his residency, the COVID-19

                     4 pandemic was declared a worldwide pandemic with public emergencies declared by the

                     5 federal government and State of California.

                     6         On January 31, 2020, HHS Secretary declared that a nationwide public health
                     7 emergency existed nationwide as of January 27, 2020 due to the 2019 Novel

                     8 Coronavirus.2 On March 4, 2020, California Governor Gavin Newsom issued a

                     9 Proclamation declaring a state of emergency in California due to COVID-193. On March
                    10 11, 2020, the World Health Organization (“WHO”) first declared that COVID-19 could

                    11 be characterized as a global pandemic.4 On March 13, 2020, President Trump declared a

                    12 nationwide emergency pursuant to the Stafford Act.5 On March 15, 2020, in an effort to

                    13 address shortages in staffing, Governor Newsom authorized healthcare workers who

                    14 were asymptomatic to continue to work. 6

                    15         In addition, beginning in January 2020, federal and state public health authorities
                    16 began issuing directives to healthcare facilities as part of the nation’s critical

                    17 infrastructure and as part of a coordinated national effort to respond to and contain the

                    18 COVID-19 pandemic. (See RFJN Exs. 11-29.) CDPH surveyors, contracted by the CMS,

                    19 were supervising facilities including Parkwest with respect to all aspects of infection

                    20 control and the pandemic response and ensuring compliance with CMS directives. (See

                    21 https://data.chhs.ca.gov/dataset/licensing-and-certification-district-offices-california)

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                            https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx
                    24     https://www.gov.ca.gov/wp-content/uploads/2020/03/3.4.20-Coronavirus-SOE-
                         Proclamation.pdf
                         4
                    25     https://www.who.int/director-general/speeches/detail/who-director-general-s-opening-
                         remarks-at-the-media-briefing-on-covid-19---11-march-2020
                         5
                    26     https://trumpwhitehouse.archives.gov/presidential-actions/proclamation-declaring-
                         national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/
                         5
                    27     https://www.gov.ca.gov/wpcontent/uploads/2020/03/3.15.2020-COVID-19
                         Facilities.pdf
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                    28     https://www.gov.ca.gov/wpcontent/uploads/2020/03/3.15.2020-COVID-19
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                     1         In the Complaint, Plaintiff allege, inter alia, that Parkwest: “failed to protect its
                     2 residents, including Mr. Cortez and Mr. Mizrachi, from exposure to this deadly

                     3 pathogen. Despite its knowledge of rampant exposure to COVID-19, Parkwest did not

                     4 test any of its residents itself until on or after May 2020…failed to protect those in its

                     5 care” by failing to implement appropriate infection control protocols. (RFJN, Ex.1, ¶ 22,

                     6 23, 24, 29.) [Emphasis added.] These claims relate to the administration or use of covered

                     7 countermeasures to prevent and/or mitigate the spread of COVID-19 at Parkwest,

                     8 bringing Plaintiff’s Complaint squarely within the scope of immunity under the PREP

                     9 Act.
                    10 III.    LEGAL STANDARD
                    11         On June 25, 2021, Defendants properly removed this action on the basis of federal
                    12 officer jurisdiction, 28 U.S.C. § 1442, and federal question jurisdiction, 28 U.S.C. § 1331.

                    13 In particular Defendants appropriately points out this matter is completely preempted

                    14 under the PREP Act. Indeed, as recently as April 30, 2021, the Western District of

                    15 Louisiana agreed, ruling as follows:

                    16         For the reasons that follow, the Court finds that the PREP Act is a
                               complete preemption statute, thus creating a federal cause of action as
                    17         specified therein.
                    18         To establish complete preemption for purposes of federal question
                               jurisdiction, Fifth Circuit jurisprudence requires that a defendant must
                    19         show: (1) the statute contains a civil enforcement provision that creates a
                               cause of action that both replaces and protects the analogous area of state
                    20         law; (2) there is a specific jurisdictional grant to the federal courts for
                               enforcement of the right; and (3) there is a clear Congressional intent that
                    21         claims brought under the federal law be exclusive. PCI Transp., Inc. v. Fort
                               Worth & W. R.R. Co., 418 F.3d 535, 544 (5th Cir. 2005). The PREP Act
                    22         contains each of these elements as to claims falling within its scope. To
                               illustrate this point, it is instructive to compare the principal components of
                    23         the PREP Act and the Air Transportation Safety and System Stabilization
                               Act of 2001 (“ATSSSA”) passed in the wake of the September 11, 2001,
                    24         terrorist attacks, which the Second Circuit held was a complete preemption
                               statute. Pub. L. No. 107-42, 115 Stat. 230 (2001) (codified at 49 U.S.C. §
                    25         40101); In re WTC Disaster Site, 414 F.3d 352 (2d Cir. 2005). Instrumental
                               to the Second Circuit’s analysis was the ATSSSA’s statutory components,
                    26         which consist of: (i) the creation of a Victim Compensation Fund to provide
                               relief, without litigation, to individuals (or relatives of deceased
                    27         individuals) physically injured or killed as a result of the September 11
                               attacks; (ii) immunity to the airlines; (iii) a federal cause of action as the
LEWIS               28         exclusive judicial remedy for damages arising out of the attacks; and (iv)
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                     1         an exclusive venue in the United States District Court for the Southern
                               District of New York for all suits brought on that federal cause of action. In
                     2         re WTC Disaster Site, 414 F.3d at 373. Significantly, the composition of the
                               PREP Act is very similar in that it: (i) creates a Covered Countermeasure
                     3         Process Fund to provide relief, without litigation, to eligible individuals for
                               “covered injuries” directly caused by the administration or use of a
                     4         “covered countermeasure;” (ii) provides immunity to “covered persons,”
                               except in the case of “willful misconduct;” (iii) creates an exclusive federal
                     5         cause of action for damages against a covered person for willful
                               misconduct; and (iv) provides that the federal court in the District of
                     6         Columbia is the exclusive federal venue for suits on the federal cause of
                               action. 42 U.S.C. § 247d-6(d); 42 U.S.C. § 247d-6(e).
                     7
                               Further, the PREP Act states that the remedy available in the Covered
                     8         Countermeasure Process Fund “shall be exclusive of any other civil action
                               or proceeding for any claim or suit this section encompasses,” with the
                     9         exception of the federal cause of action for damages against a “covered
                               person” for willful misconduct. Id. § 247d-6(d). The Court concludes that,
                    10         together, these provisions demonstrate Congress’s intent that the
                               PREP Act exclusively encompass “claims for loss caused by, arising out
                    11         of, relating to, or resulting from the administration to or the use by an
                               individual of a covered countermeasure.” Id. § 247d-6d(a)(1).
                    12         Accordingly, to the extent Plaintiff’s alleged loss was caused by a “covered
                               person” and arose out of, related to, or resulted from the administration to
                    13         or the use by an individual of a “covered countermeasure,” This Court has
                               federal question jurisdiction to apply the provisions of the PREP Act.
                    14

                    15         See Rachal v. Natchitoches Nursing & Rehab Center LLC, Civil Docket No. 1:21-
                    16 CV-00334 (W.D. La. April 30, 2021), Memorandum Ruling, April 30, 2021, fn. 3.

                    17 [emphasis added].

                    18         Now, Defendants move this Court to dismiss the Complaint under Fed. R. Civ. P.
                    19 12(b)(6) for failure to state a claim upon which relief may be granted, and alternatively

                    20 under Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction. “To survive a motion

                    21 to dismiss, a complaint must contain sufficient factual matter, accepted as true, to ‘state

                    22 a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                    23 Plausibility requires “more than a sheer possibility that a defendant has acted unlawfully”

                    24 and more than labels, conclusions, “formulaic recitation of the elements,” or “naked

                    25 assertions.” Id. Legal conclusions and mixed questions of law and fact do not receive the

                    26 presumption of truth even at the pleading stage. See id.; Ni v. Royal Bus. Bank of Los

                    27 Angeles, 607 F. App’x 720 (9th Cir. 2015).

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                     1         Questions of statutory interpretation “are questions of law ripe for resolution at the
                     2 pleadings stage.” Simmons v. Galvin, 575 F.3d 24, 30 (1st Cir. 2009). Further, “the

                     3 assertion of an affirmative defense may be considered properly on a motion to dismiss

                     4 where the allegations in the complaint suffice to establish the defense.” Sams v. Yahoo!

                     5 Inc., 713 F.3d 1175, 1179 (9th Cir. 2013). This includes where there is a challenge on

                     6 qualified immunity grounds. See, e.g., Serrano v. Francis, 345 F.3d 1071, 1081 (9th Cir.

                     7 2003). Dismissal under this standard is also appropriate where there is a failure to exhaust

                     8 administrative remedies, see, e.g., Moore v. Avery, 125 F. App’x 763, 764 (9th Cir. 2005),

                     9 and when a complaint does not meet heightened pleading requirements imposed by
                    10 statute. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 327-28 (2007).

                    11         Finally, in determining the sufficiency of a claim under Rule 12(b)(6), the Court
                    12 may consider not only the allegations on the face of a pleading, but also “[d]ocuments

                    13 that are attached to the complaint or incorporated in it by reference” which are deemed

                    14 part of the pleading.” Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007). In addition to

                    15 documents referenced in the complaint, courts may also consider documents that a

                    16 plaintiff relied on in bringing suit, which are either in the plaintiff’s possession or that

                    17 the plaintiff knew of and relied on when bringing suit. See Chambers v. Time Warner,

                    18 Inc., 282 F.3d 147, 152–53 (2d Cir. 2002). Courts have held that a plaintiff’s medical

                    19 records are therefore properly considered by a court in determining a Rule 12(b)(1) or

                    20 12(b)(6) motion where they are integral to the complaint and there is no dispute regarding

                    21 the records’ authenticity. And when deciding a motion to dismiss under Rule 12(b)(6), a

                    22 court may consider “matters of public record and facts susceptible to judicial notice.”

                    23 Daniels-Hall v. National Educ. Ass’n, 629 F.2d 992, 998 (9th Cir. 2010) (taking notice

                    24 of information made publicly available by government entities and information contained

                    25 within the complaint); In re Amgen Inc. Sec. Litig., 544 F. Supp. 2d 1009, 1023 (C.D.

                    26 Cal. 2008) (taking notice of information on FDA website).

                    27         Also Fed. R. Civ. P. 12(b)(1) provides for dismissal of an action for “lack of subject
                    28 matter jurisdiction.” See Fed. R. Civ. P. 12(b)(1). A Rule 12(b)(1) motion can challenge
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                     1 the sufficiency of the pleadings to establish jurisdiction (facial attack), or a lack of any

                     2 factual support for subject matter jurisdiction despite the pleading’s sufficiency (factual

                     3 attack). See Grondal v. United States, 2012 U.S. Dist. LEXIS 19398, at *11-13 (E.D.

                     4 Wash. Feb. 16, 2012) (Quackenbush, J.); See McAfee v. 5th Circuit Judges, 884 F.2d 221,

                     5 222-23 (5th Cir 1989); Johnson v. United States, 502 Fed. Appx 412, 420 (5th Cir 2012);

                     6 Moreno v. Kansas City Steak Company, LLC, 2017 WL 2985748 (D. Kan. 2017).

                     7 IV.     PLAINTIFF’S CLAIMS ARE BARRED UNDER THE PREP ACT
                     8         A.     Defendants Are Immune From Suit Under The Prep Act
                     9         Defendants are immune under the PREP Act, as well the implementing Declaration
                    10 under the PREP Act for Medical Countermeasures against COVID-19, 85 Fed. Reg.

                    11 15198 (Mar. 17, 2020), and its various amendments–including the Fourth Amendment

                    12 dated December 3, 2020 (RFJN, Exs. 2-5) (“the Declaration”). The intent of the PREP

                    13 Act is to remove liability concerns–specifically for covered persons as to

                    14 countermeasures–so that resources remain available during an emergency; otherwise,

                    15 such critical resources will simply shut down rather than expose them to endless

                    16 lawsuits. 7 The PREP Act applies to all of Plaintiff’s state law claims, as they center on

                    17 Defendants’ efforts to diagnose, screen, treat, prevent, or mitigate COVID-19. 8

                    18         The Act has a broad reach in its intended scope of protection and empowers the
                    19 Secretary of HHS to issue a written declaration identifying the “covered persons” who

                    20 shall be immune from suit and liability under Federal and state law with respect to all

                    21 claims for loss caused by, arising out of, relating to, or resulting from the administration

                    22 or use of a “covered countermeasure” during a health emergency. 42 U.S.C. § 247d-

                    23 6d(a)(1)&(b). “Loss” is broadly defined as “any type of loss,” including death, physical

                    24
                         7
                    25   See P. Binzer, The PREP Act: Liability Protection for Medical Countermeasure
                       Development, Distribution, and Administration, Biosecurity and Bioterrorism:
                    26 Biodefense Strategy, Practice, and Science, Vol. 6, No 4, 2008.
                       8
                         The Act states that “[a] covered person shall be immune from suit and liability under
                    27 Federal and State law with respect to claims for loss caused by, arising out of, relating
                       to, or resulting from the administration to or the use by an individual of a covered
                    28 countermeasure if a declaration under subsection (b) has been issued with respect to such
LEWIS                  countermeasure.” 42 U.S.C. § 247d-6d(b)(1) (emphasis added).
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                     1 injury, mental injury, emotional injury, fear, property loss and damage, and business

                     2 interruption loss. Id. 42 U.S.C. § 247d-6d(a)(2)(A). Moreover, the immunity applies to

                     3 any claim “that has a causal relationship with the administration of or use by an individual

                     4 of a covered countermeasure.” Id. 42 U.S.C. § 247d-6d(a)(2)(B).

                     5         The Declaration provides liability immunity for “recommended activities,”
                     6 including the distribution, allocation, administration and use of covered countermeasures

                     7 against COVID 19. See 85 Fed. Reg. 15198-15201. The Declaration was amended on

                     8 April 10, 2020 to reflect newly enacted legislation and the addition of “respiratory

                     9 protective device[s] approved by NIOSH” to the list of “covered countermeasures.” See
                    10 85 Fed. Reg. 21012-02. A June 8, 2020 Amendment then retroactively included as

                    11 “covered countermeasures” additional products that “limit the harm such a pandemic or

                    12 epidemic might otherwise cause.” 85 Fed. Reg. 35101. The Office of the General Counsel

                    13 of HHS also issued an Advisory Opinion on April 17, 2020, stating that “the number of

                    14 products used for COVID-19 that are approved, licensed or cleared [by the FDA] are too

                    15 numerous to list.” However, the Opinion cites to lists of medical devices that are covered

                    16 by EUAs. Notably, the lists include various forms of PPE (face shields, gowns, shoe

                    17 covers, non-surgical isolation gowns, surgical caps, properly labeled non-surgical masks,

                    18 and certain non-NIOSH approved respirators) and COVID-19 testing kits. See Advisory

                    19 Opinion on the PREP Act and the March 10, 2020 Declaration Under the Act April 17,

                    20 2020, as Modified May 19, 2020 (RFJN, Ex. 8). The Declaration was amended again on

                    21 December 3, 2020 which, inter alia, incorporates all Advisory Opinions relating to the

                    22 PREP Act into the Declaration itself. (RFJN, Ex.5, p. 3). Finally, on January 28, 2021,

                    23 HHS under the Biden Administration issued a Fifth Amendment to the Declaration,

                    24 affirming prior amendments, confirming the wide-sweeping breadth of the Act and its

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                     1 complete preemptive effect, and expanding the categories of individuals authorized to

                     2 administer COVID-19 vaccines. (RFJN, Ex.30).9

                     3         Together, these authorities provide immunity to an individual or entity under the
                     4 PREP Act if (1) they are a “covered person”; (2) they are administering or using a

                     5 “covered countermeasure”; (3) the claim against which immunity is asserted “arises out

                     6 of, relates to, or results from” the administration or use of the subject countermeasure;

                     7 (4) the administration or use occurs during “effective period”; and (5) the “covered

                     8 countermeasure” was obtained through a specified “means of distribution.” PREP Act,

                     9 42 U.S.C. §§ 247d-6d, 247d-6e. Here, Defendants’ activities meet all of these elements.
                    10                1.     Defendants are “Covered Persons” under the Prep Act.
                    11         Plaintiff’s own allegations establish that Defendants are “covered persons,” as
                    12 defined by 42 U.S.C. § 247d-6d(i)(2)(B). As more fully explained below, Defendants

                    13 satisfy the definitions of both a “program planner” and “qualified persons.”

                    14   See Rachal v. Natchitoches Nursing & Rehab Center LLC, Civil Docket No. 1:21-CV-
                    15 00334 (W.D. La. April 30, 2021) (finding senior living communities are “covered

                    16 persons” under PREP Act).

                    17                       (a)    Defendants are “Program Planners” under the PREP Act
                    18         The Act defines a “program planner” as a person or entity who:
                    19         [S]upervised or administered a program with respect to the
                               administration, dispensing, distribution, provision, or use of a security
                    20         countermeasure or a qualified pandemic or epidemic product, including
                               a person who has established requirements, provided policy guidance, or
                    21         supplied technical or scientific advice or assistance or provides a facility
                               to administer or use a covered countermeasure in accordance with [the
                    22         Secretary’s declaration]. 42 U.S.C. § 247d-6d(i)(6).
                    23         Importantly, a “private sector employer or community group or other ‘person’ can
                    24 be a program planner when it carries out the described activities.” 85 Fed. Reg. 15202.

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                    27        See sixth amendment to the PREP Act (February 10, 2021):
                       https://www.phe.gov/Preparedness/legal/prepact/Pages/COVID-Amendment-6.aspx;
                    28          See also seventh amendment to the Prep Act (March 11, 2021):
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                     1 HHS has already concluded that a senior living community is a “program planner” to the

                     2 extent it performs the above functions. (RFJN, Ex. 2, 6.)

                     3           In the context of facilities such as Parkwest, in their role as program planners,
                     4 Defendants implemented infection control programs against COVID-19 which, as

                     5 required under California law, necessarily included the administration and distribution of

                     6 covered countermeasures. See Cal. Code Regs. Tit. 22, § 87101(u)(1). Parkwest

                     7 supervised      and administered an infection control program using covered
                     8 countermeasures, which included symptom screening for all residents and staff,

                     9 diagnostic testing for COVID-19, the use of approved PPE. (RFJN, Ex.1, ¶ 22, 23, 24,
                    10 29.)

                    11                 (b)     Defendant are “Qualified Persons” under the Prep Act
                    12           Under the PREP Act, a “qualified person who prescribed, administered, or
                    13 dispensed” the countermeasure at issue is considered a “covered person.” The term

                    14 “qualified person” includes: (A) a licensed health professional or other individual who

                    15 is authorized to prescribe, administer, or dispense such countermeasures under the law

                    16 of the State in which the countermeasure was prescribed, administered, or dispensed; or

                    17 (B) a person within a category of persons so identified in a declaration by the Secretary.

                    18 42 U.S.C. § 247d-6d(i)(8). 10 Again, HHS has confirmed that a senior living community

                    19 may be a “qualified person” where it was authorized in accordance with the public health

                    20 and medical response of the Authority Having Jurisdiction to, inter alia, prescribe or

                    21 administer a Covered Countermeasure. (RFJN, Ex.6 ).

                    22           Here, Plaintiff alleges Parkwest is a skilled nursing facility licensed by the CDPH
                    23 authorized to prescribe, administer, covered countermeasures (i.e., PPE including

                    24 facemasks, gloves, gowns, face shields, N95 masks, and COVID-19 testing) under the

                    25 State of California. (RFJN, Ex.1, ¶¶ 10, 29.) See Cal. Code Regs. Tit. 22, § 87101(u)(1).

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                              “[A]n official, agent or employee of a person or entity” that meets the above
                    28 requirement is included in the definition of a “covered person.” 42 U.S.C. § 247d-
LEWIS                    6d(i)(2)(B)(v).
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                     1 Further, facility staff were among the class of workers directed to continue to work and

                     2 to take precautions against the spread of COVID-19 as part of the nation’s critical

                     3 infrastructure. 11 Therefore, Parkwest and its employees are “qualified persons” for

                     4 purposes of PREP Act immunity as well.

                     5                   2.     Plaintiff’s Allegations Involve “Covered Countermeasures”
                     6             Immunity under the PREP Act “applies to any claim for loss that has a causal
                     7 relationship with the administration to or use by an individual of a covered

                     8 countermeasure, including a causal relationship with the . . . distribution . . . purchase,

                     9 donation, dispensing, prescribing, administration, licensing, or use of such
                    10 countermeasure.” 42 USC § 247d-6d (a)(2)(B).

                    11             In his initial Declaration, the HHS Secretary noted that the “PREP Act does not
                    12 explicitly define the term ‘administration’ but does assign the Secretary the responsibility

                    13 to provide relevant conditions in the Declaration.” In Section IX of the Declaration, the

                    14 Secretary defines “administration of a covered countermeasure” as the “physical

                    15 provision of the countermeasures to recipients or activities and decisions directly

                    16 relating to public and private delivery, distribution and dispensing of the

                    17 countermeasures to recipients; management and operation of countermeasure

                    18 programs; or management and operation of locations for purpose of distributing and

                    19 dispensing countermeasures.” [Emphasis added.] (RFJN Ex. 2.)

                    20             Accordingly, the broad definition of “Administration” of covered countermeasures
                    21 encompasses not only Defendants’ affirmative use of countermeasures at the facility but

                    22 also Defendants’ plans and decisions with respect to how best to utilize and optimize

                    23 supplies of PPE and COVID-19 testing kits, and whether and when the use of such

                    24 countermeasures is appropriate as part of its infection control efforts. It protects

                    25 omissions by covered persons, including those that may be caused by constantly changing

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                              https://www.gov.ca.gov/wp-content/uploads/2020/03/3.15.2020-COVID-19-Facilities.pdf
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                     1 governmental directives, shortages and delays in countermeasure deployment. The

                     2 Fourth Amendment to the Declaration confirms this:

                     3         Where there are limited Covered Countermeasures, not administering a
                               Covered Countermeasure to one individual in order to administer it to
                     4         another individual can constitute “relating to . . . the administration to . . .
                               an individual” under 42 U.S.C. 247d-6d . . . . [such as] when [t]he person
                     5         in the vulnerable population was able to receive the vaccine only because it
                               was not administered to the person in the less-vulnerable population.
                     6         Prioritization or purposeful allocation of a Covered Countermeasure,
                               particularly if done in accordance with a public health authority’s
                     7         directive, can fall within the PREP Act and this Declaration’s liability
                               protections.”(RFJN, Ex. 5, (Fourth Amendment) pp. 24-25) (emphasis
                     8         added).
                     9         Here, the Complaint specifically asserts allegations relating to the way Parkwest
                    10 employed CDC guidelines to protect and treat residents and patients against infection

                    11 from COVID-19, for failing to take all reasonable and necessary precautions to ensure

                    12 decedent did not contract COVID-19 (in other words, Plaintiff seeks to hold Defendants

                    13 liable for its decisions directly relating to the delivery, distribution, and dispensing of

                    14 countermeasures to combat COVID-19), for failing to properly test residents for

                    15 COVID-19 and for improperly distributing, administering and utilizing other equipment

                    16 and supplies which are designated countermeasures to combat the COVID-19 outbreak,

                    17 including but not limited to items identified as PPE. (RFJN, Ex.1- ¶ 22, 23, 24, 29.) Thus,

                    18 the Complaint contains allegations relating to covered countermeasures, bringing this

                    19 case within the preemptive and immunity provisions of the PREP Act.

                    20         Plaintiff’s allegations in the Complaint also concede that Defendants indeed
                    21 utilized diagnostic testing for COVID-19 at Parkwest. (RFJN, Ex.1 ¶ 24.) The

                    22 Declaration identifies “any . . . diagnostic, any other device, or any vaccine, used to treat

                    23 diagnose, cure, prevent, or mitigate COVID-19 . . . .” provided such countermeasure fits

                    24 into at least one of the categories set forth under the PREP Act. 42 U.S.C. § 247d-

                    25 6d(i)(1); 85 Fed. Reg. 15202 (emphasis added). To date, a very large number of

                    26 diagnostic tests for use in detecting or preventing the spread of COVID-19 have been

                    27 approved, licensed, or cleared by the FDA, or subject to an EUA. The use (as well as the

                    28 allegedly negligent use) of diagnostic testing constitutes a covered countermeasure and,
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                     1 in this matter, it is expressly alleged that such covered countermeasure was administered

                     2 by Defendants to the staff and residents of Parkwest.

                     3         Plaintiffs further allege that Parkwest caused Mr. Cortez’s death from COVID19
                     4 insofar as it: “failed to protect its residents, including Mr. Cortez and Mr. Mizrachi,

                     5 from exposure to this deadly pathogen. Despite its knowledge of rampant exposure to

                     6 COVID-19, Parkwest did not test any of its residents itself until on or after May

                     7 2020…failed to protect those in its care” by failing to implement appropriate infection

                     8 control protocols. (RFJN, Ex.1, ¶ 22, 23, 24, 29.) [Emphasis added.] Such claims

                     9 include additional infection control measures such as resident monitoring for COVID-
                    10 19, social distancing, visitor and employee screening, cohorting and isolation of

                    11 residents, hand sanitization and cleaning and disinfecting of the premises. These

                    12 activities likewise fall within the PREP Act’s immunity provisions as such claims relate

                    13 to the management and operation of Defendants’ countermeasures (i.e., infection

                    14 control) program and their management and operation of the facility for purposes of

                    15 distributing and dispensing those countermeasures.

                    16         Furthermore, during the time frame relevant to Plaintiffs’ complaint, the CDC,
                    17 CMS and CDPH had all issued directives pertaining to the preservation of PPE and had

                    18 instructed facilities to test only symptomatic patients. (See RFJN, Exs. “11”, “12”, “13”,

                    19 “17”, “21”, “22”, “23” and “26”.) Defendants were subject to the instruction and

                    20 directives issued by these government agencies and was following this applicable public

                    21 health guidance with respect to the use of PPE and COVID-19 testing. Defendants have

                    22 thus established that they have immunity under the PREP Act as it relates to Plaintiff’s

                    23 claims relating to deficiencies in its manner of use and administration of PPE, COVID-

                    24 19 testing and other countermeasures

                    25         While Plaintiff will argue these claims do not fall within the PREP Act, such claims
                    26 by their very nature indeed relate to the use of covered countermeasures, including PPE,

                    27 and COVID-19 testing, and/or the management and operation of Parkwest’s

                    28 countermeasures program, for which Defendants have immunity under the PREP Act.
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                     1 Plaintiff cannot allege Mr. Cortez’ death was due to inconsistently or improperly

                     2 implementing effective infection control policies to prevent COVID-19 without

                     3 implicating    the countermeasures that comprise those policies, since such
                     4 countermeasures are the main line of defense against and the centerpiece of any infection

                     5 control program used to prevent the spread of the virus that causes COVID-19.

                     6         Thus, Parkwest’s infection control protocols trigger PREP Act immunity because
                     7 the facility used and continues to use qualified countermeasures under the PREP Act to

                     8 achieve compliance with federal, state, and local laws.

                     9                3.     Defendants were engaged in “Recommended Activities”
                    10         Defendants were involved in “recommended activities,” defined as the
                    11 manufacture, testing, development, distribution, administration and use of one or more

                    12 “covered countermeasures.” See 85 Fed. Reg. at 15201. These include any activity that

                    13 is part of an authorized emergency response at any level of government. And these

                    14 activities can be authorized through guidance, requests for assistance, agreements, or

                    15 other arrangements, and are covered under the PREP Act even if a state or local authority

                    16 has not declared a state of emergency. See id.

                    17         Here, the covered countermeasures were administered or used within the effective
                    18 period of the Declaration and for the categories of diseases, health conditions, or threats

                    19 to health contemplated by the Declaration. See 42 U.S.C. § 247d-6d(a)(3). The

                    20 Declaration defines “Administration of a Covered Countermeasure” as the physical

                    21 provision of countermeasures to recipients, or activities and decisions directly relating to

                    22 public and private delivery, distribution, and dispensing of the countermeasures to

                    23 recipients; management and operation of countermeasure programs; or management and

                    24 operation of locations for purpose of distributing and dispensing countermeasures. See

                    25 85 Fed. Reg. 15200. The definition of administration extends to the provision of a

                    26 countermeasure to a recipient and also includes activities related to management and

                    27 operation of programs and locations for providing countermeasures to recipients. See

                    28
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                     1 id.12 And Advisory Opinion 21-01, issued on January 8, 2021, which states that the

                     2 application of PREP Act immunity includes situations involving a conscious decision by

                     3 a program planner, such as Defendants, not to use a covered countermeasure, and must

                     4 be given Chevron deference as it has been expressly incorporated into the Fourth

                     5 Amendment. (RFJN–Ex. 9.) Here, Plaintiff alleges the administration and use of testing,

                     6 screening and other countermeasures to residents and staff at Parkwest. (See generally

                     7 Complaint). Even “monitoring” a patient who has been exposed to COVID-19 may be

                     8 considered a “recommended activity” as it is part of the management of an infection

                     9 control protocol implemented in response to the virus.
                    10           Indeed, two months ago, the District Court for the Western District of Louisiana
                    11 in Rachal concluded that “HHS’s interpretation of the PREP Act and its scope [including

                    12 as set forth in the advisory opinions] is reasonable” and, moreover, warrants deference

                    13 given: “(i) the PREP Act’s broad grant of authority to the HHS Secretary; (ii) the

                    14 Secretary’s express incorporation of the OGC’s Advisory Opinions into the Declarations

                    15 for purposes of construing the PREP Act; (iii) the complexity of the relevant statutory

                    16 provisions; (iv) the technical nature of the subject matter; and (v) the need for uniformity

                    17 in the judiciary’s interpretation of the PREP Act across the United States.”

                    18           Moreover, a California District Court addressed the PREP Act in a decision that
                    19 fully supports Defendants’ position here. In Garcia v. Welltower OpCo Group LLC, No.

                    20 8:20-CV-02250, at *8-9 (C.D. Cal. Feb. 10, 2021), Judge James V. Selna dismissed a

                    21 complaint nearly identical to Plaintiff’s on the grounds that the PREP Act preempted

                    22 Plaintiff’s state law claims and granted immunity to Defendants. The Court noted other

                    23 district court decisions that found the PREP Act did not have complete preemptive effect

                    24

                    25
                         12
                              Where Congress has expressly delegated interpretive authority to an agency, that
                    26 agency’s interpretative proclamations are controlling on the federal courts. See Chevron
                         USA, Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 843-844
                    27 (1984)(Chevron). The HHS Secretary’s Fourth Amendment to the PREP Act (Fourth
                         Amendment) clarified that “the Declaration must be construed in accordance with the
                    28 advisory opinions issued by its Office of the General Counsel on the PREP Act and the
LEWIS                    Declaration. (RFJN, Ex. 9.)
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                     1 were decided before the more recent guidance from HHS Office and denied the motion

                     2 to remand. (See RFJN Ex. “32”.) The Court afforded deference to the January 8, 2021

                     3 Advisory Opinion under the well-established rules in Chevron USA, Inc. v. Natural

                     4 Resources Defense Council, Inc., 467 U.S. 837, 843-844 (1984) (“Chevron”), and agreed

                     5 that the “OGC affirmed the PREP Act is a complete preemption statute and clarified the

                     6 scope of the Act relative to the ongoing pandemic.” (See RFJN Ex. “32”, p. 11.)

                     7            In Garcia, Judge Selna also assessed whether Defendant was “covered persons”
                     8 or “program planners” under the PREP Act and therefore immune from suit. Since

                     9 Defendant supervised or administered countermeasures (including, but not limited to,
                    10 supervising or administering infection control programs) to respond to the COVID-19

                    11 pandemic, the Judge determined that Defendant was “covered persons.” (Id. at 12.) Judge

                    12 Selna further explained Plaintiff’s injuries arose out of or resulted from the administration

                    13 or use of a covered countermeasure (Defendant’s use or misuse of infection control

                    14 measures.) (Id. at 13.) 13

                    15            Plaintiff’s allegations in the present matter are virtually the same as the allegations
                    16 in Garcia. As such, the Court should respectfully apply the same reasoning here as in

                    17 Garcia and grant Defendants’ Motion to Dismiss pursuant to Federal Rule 12(b)(6)

                    18 because Defendants are immune from suit. (Id. at 16.)

                    19            However, to the extent that this Court has any questions as to whether these claims
                    20 are within the purview of the statute, the Court should follow the approach taken by the

                    21 Rachal Court and direct the parties to engage in a limited period of targeted jurisdictional

                    22 discovery followed by immediate briefing of the jurisdictional issue.

                    23

                    24

                    25
                         13
                              The Court in Parker v. St. Lawrence County Public Health Department, 102 A.D.3d
                    26 140 (N.Y. App. Div. 2012) reached the same conclusion. The Parker Court held that
                         “[c]onsidering the breadth of the preemption clause together with the sweeping language
                    27 of the statute’s immunity provision, we conclude that Congress intended to preempt all
                         state law tort claims arising from the administration of covered countermeasures by a
                    28 qualified person pursuant to a declaration by the Secretary, including one based upon a
LEWIS                    defendant’s failure to obtain consent.” Id. at p. 144
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                     1         B.    Plaintiff Failed to Comply with the Procedural Requirements for
                                     Asserting a “Willful Misconduct” Claim Under the PREP Act.
                     2

                     3         With regard to Plaintiff’s claims of willful misconduct, Plaintiff’s allegations also
                     4 fail to meet the PREP Act’s statutorily-imposed heightened pleadings standards which

                     5 require, among other things, that each element be pled with particularity, including the

                     6 specific acts or omissions constituting misconduct by each defendant, as well as facts

                     7 supporting proximate causation with respect to serious physical injury or death. (See 42

                     8 U.S.C. § 247d-6d(e)(3)). Rather, Plaintiff’s allegations contain labels, conclusions,

                     9 “formulaic recitation of the elements,” and “naked assertions” that do not meet the PREP
                    10 Act’s heightened pleading requirement. See Ashcroft v. Iqbal, 556 U.S. 662 (2009).

                    11 Significantly, Plaintiff also fails to satisfy the special Verification, Certification, and

                    12 attachment of Medical Records requirements for willful misconduct suits. (See 42 U.S.C.

                    13 § 247d-6d(e)(4)).The PREP Act requires that a plaintiff asserting a “willful misconduct”

                    14 claim shall verify the complaint and shall file an affidavit from a physician as well as

                    15 certified medical records documenting the applicable injury or death, inter alia. Id. A

                    16 complaint alleging “willful misconduct” that does not comply with this requirement

                    17 “shall not be accepted for filing and shall not stop the running of the statute of

                    18 limitations.” (See 42 U.S.C. § 247d-6d(e)(4)(A)). Here, Plaintiff failed to comply with

                    19 these statutorily-imposed requirements. For this reason alone, Defendants are entitled to

                    20 dismissal of Plaintiff’s purported “willful misconduct” claims.

                    21         C.    Plaintiff’s Claims Do Not Fit Within the Limited Exception to PREP
                                     Act Immunity
                    22

                    23         The sole exception to PREP Act immunity (other than actions by and against the
                    24 United States) is “for an exclusive Federal cause of action against a covered person for

                    25 death or serious injury proximately caused by “willful misconduct” which must be filed

                    26 in the United States District Court for the District of Columbia. 42 U.S.C. §§ 247d-

                    27 6d(d)(1) and (e)(1). “Willful misconduct” under the PREP Act, is defined as “an act or

                    28 omission that is taken–(i) intentionally to achieve a wrongful purpose;
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                     1 (ii) knowingly without legal or factual justification; and (iii) in disregard of a known

                     2 or obvious risk that is so great as to make it highly probable that the harm will

                     3 outweigh the benefit.” [Emphasis added.] 42 U.S.C. § 247d-6d(c)(1)(A). Plaintiff has

                     4 the burden of proving by clear and convincing evidence “willful misconduct” by each

                     5 covered person sued and that such “willful misconduct” proximately caused death or

                     6 serious injury. 42 U.S.C. § 247d-6d (c)(3). The PREP Act makes clear that before

                     7 Plaintiff may pursue such action under the “willful misconduct” exception they must first

                     8 file a pre-litigation administrative claim with the Countermeasures Injury Compensation

                     9 Program (CIP). (42 U.S.C. § 247d-6e.)
                    10        Here, Plaintiff’s Complaint does not contain allegations that rise to the level of
                    11 “willful misconduct” as defined in the PREP Act. The Complaint alleges negligent, and

                    12 willful, conduct only for enhanced remedies and has mere conclusory allegation that

                    13 Defendants “willfully/and or recklessly” ignored or otherwise violated the state and

                    14 federal laws and regulations designed to protect residents like Mr. Cortez from

                    15 contracting COVID-19. (RFJN–Ex.1, ¶ 4); however, there are no facts in the Complaint

                    16 supporting an allegation that Defendants’ acts or omissions were taken “intentionally to

                    17 achieve a wrongful purpose”; “knowingly without legal or factual justification” and “in

                    18 disregard of a known or obvious risk that is so great as to make it highly probable that

                    19 the harm will outweigh the benefit.”

                    20        Moreover, even if Plaintiff’s Complaint did state such allegations, Plaintiff must
                    21 first exhaust their pre-litigation administrative remedies, and they must then pursue any

                    22 such claims in the United States District Court for the District of Columbia, not in this

                    23 Court. Having failed to do so, Plaintiff’s Complaint must be dismissed pursuant to Rules

                    24 12(b)(1) and/or 12(b)(6).

                    25 V.     THE PREP ACT COMPLETELY PREEMPTS PLAINTIFF’S STATE
                              LAW CLAIMS
                    26

                    27        In addition to statutory immunity, dismissal is proper under either Rule 12(b)(1)
                    28 and/or Rule 12(b)(6) because Plaintiff’s state law claims are expressly preempted by the
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                     1 PREP Act. The preemptive intent of the PREP Act is clear from its face. At the outset, it

                     2 expressly provides immunity “from suit and liability under Federal and State law,”

                     3 which—stemming from an act of Congress—necessarily involves preemption to be

                     4 effective. Also, it contains an express preemption clause that provides that “[n]o State . .

                     5 . may establish, enforce, or continue in effect … any provision of law or legal requirement

                     6 that . . . (A) is different from, or is in conflict with, any requirement applicable under this

                     7 section; and (B) relates to the . . . use, ... dispensing, or administration by qualified

                     8 persons of the covered countermeasure.” (42 U.S.C.A. § 247d-6d(b)(8)).

                     9         In Parker v. St. Lawrence County Public Health Department, 102 A.D.3d 140,
                    10 supra, the court held that a claim for battery due to the administration of the H1N1

                    11 vaccine to a child without parental consent was preempted by the PREP Act. See 102

                    12 A.D.3d 140, 144 (App. Div. 3d. 2012) (citing Bruesewitz v. Wyeth, LLC, 562 U.S. 223,

                    13 252-53 (2011)). Because Congress intended the PREP Act to serve as the exclusive

                    14 remedy for the alleged use (or non-use) of covered countermeasures in the current

                    15 pandemic, the Act “wholly displaces a state law cause of action, and in effect, converts

                    16 or recasts the state law claim into a federal cause of action” under the “complete

                    17 preemption” doctrine. See Wright v. Louisiana Corrugated Prods., LLC, 59 F. Supp.3d

                    18 767, 775 (W.D. La. 2014). Stated differently, Congress has provided an exclusive remedy

                    19 for the substance of the allegations and relief sought in the Complaint thereby preempting

                    20 state law with respect to the claims raised in the Complaint. Moreover, Defendants’

                    21 administration of countermeasures, such as the use of facemasks and other PPE, and

                    22 COVID-19 testing, to diagnose, treat, prevent or mitigate the spread of COVID-19

                    23 (which forms the basis of this action), gives this Court original jurisdiction and

                    24 completely preempts the state law claims asserted by Plaintiff in the Complaint.

                    25 Therefore, dismissal is proper due to preemption.

                    26 / / /

                    27 / / /

                    28 / / /
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                     1 VI.     PLAINTIFF’S ELDER ABUSE CAUSE OF ACTION IS INSUFFICIENT
                               AS A MATTER OF LAW
                     2

                     3         The Elder Abuse and Dependent Adult Civil Protection Act (“the Elder Abuse
                     4 Act”) is a remedial scheme under which heightened remedies may be sought where it is

                     5 established that a defendant has engaged in specific types of tortious conduct: i.e., abuse

                     6 or neglect of an elder or dependent adult. Cal. Welf. & Inst. Code § 15600, et seq. A

                     7 claim for elder abuse requires that the patient or resident was subjected to physical abuse,

                     8 neglect or deprivation by a care custodian of goods and services that are necessary to

                     9 avoid physical harm or mental suffering. Cal. Welf. & Inst. Code § 15610.07. Neglect
                    10 under Cal. Welf. & Inst. Code § 15610.57 is defined as “the negligent failure of any

                    11 person having the care or custody of an elder or a dependent adult to exercise that degree

                    12 of care that a reasonable person in a like position would exercise.” Under the Elder Abuse

                    13 Act, neglect includes the failure to provide medical care for physical and mental health

                    14 needs and the failure to protect from health and safety hazards. The California Supreme

                    15 Court in Covenant Care, Inc. v. Superior Court, 32 Cal. 4th 771 (2004)(“Covenant

                    16 Care”), explained that “neglect,” as used in the Elder Abuse Act, is reserved for the

                    17 “especially egregious abuse” proven to a “high standard,” as opposed to ordinary acts of

                    18 medical negligence. Even gross negligence committed in the provision of professional

                    19 services does not rise to the level of egregious conduct intended to be actionable under

                    20 the Act. Id. at 785. The Elder Abuse Act was intended to cover an area distinct and

                    21 completely separate from medical negligence. Id. at 790.

                    22         The statute, Cal. Welf. & Inst. Code § 15657, further provides enhanced remedies
                    23 for elder abuse/neglect, but with very strict requirements “[w]here it is proven by clear

                    24 and convincing evidence that a defendant is liable for physical abuse [or] neglect . . .

                    25 and that the defendant has been guilty of recklessness, oppression, fraud or malice in

                    26 the commission of this abuse, the following shall apply, in addition to all other remedies

                    27 otherwise provided by law:

                    28
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                     1                (a) The court shall award to the Plaintiffs reasonable attorney’s
                               fees and costs . . .
                     2                (b) The limitations imposed by Section 377.34 of the Code of
                               Civil Procedure on the damages recoverable shall not apply. [Decedent’s
                     3         pain and suffering.] However, the damages recovered shall not exceed
                               the damages permitted to be recovered pursuant to subdivision (b) of
                     4         Section 3333.2 of the Civil Code.
                     5         Thus, in order to obtain the enhanced remedies available under the Elder Abuse
                     6 Act, Plaintiff is required to plead specific allegations constituting (1) physical abuse or

                     7 neglect, of an elderly adult and (2) that such abuse or neglect was done with malice,

                     8 oppression, fraud, or recklessness. In other words, Plaintiff must plead conduct that

                     9 amounts to at least recklessness. Claims for elder abuse, with their heightened remedies,
                    10 require conduct above and beyond that found in a medical negligence case. Specifically,

                    11 elder abuse requires clear and convincing evidence of recklessness, oppression, fraud, or

                    12 malice. See Delaney v. Baker, 20 Cal. 4th 23 (1999) (“Delaney”); Mack v. Soung, 80 Cal.

                    13 App. 4th 966 (2000).

                    14         Unlike a negligence cause of action where notice pleading is sufficient, when
                    15 pleading a claim for elder abuse, factual allegations cannot be made in conclusory terms.

                    16 Covenant Care, Inc. v. Superior Court, 32 Cal. 4th 771, 790 (2004). The court made it

                    17 clear that “statutory causes of action must be pleaded with particularity.” Id. at 790.

                    18 Plaintiff must plead facts sufficient to establish every element of the cause of action pled,

                    19 as allegations are nothing more than theories and do not establish any element of any

                    20 cause of action. Carter v. Prime Healthcare Paradise Valley, LLC., 198 Cal. App.

                    21 4th 396, 407 (2011). Conclusory language which mirrors the required statutory language

                    22 is insufficient. Covenant Care, supra, 32 Cal. 4th at 790.

                    23         In Delaney, the California Supreme Court reviewed the legislative history behind
                    24 the Elder Abuse Act and concluded that the purpose and intent of the Act was to protect

                    25 a uniquely vulnerable and exploitable population from gross mistreatment in the form of

                    26 abuse and custodial neglect. The court stated that the enactment of the Elder Abuse Act

                    27 was not to provide additional remedies to elders or dependent adults who find themselves

                    28 the victims of medical malpractice and wish to overcome the MICRA limitations. Id. at
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                     1 34. In particular, a cause of action for elder abuse, requires Plaintiffs to plead facts

                     2 sufficient to establish that the defendant recklessly or maliciously engaged in

                     3 “egregious conduct” amounting to a “failure to provide medical care,” as opposed

                     4 to mere medical negligence. Id. at 34-35 [Emphasis added].

                     5         “Recklessness, unlike negligence, involves more than ‘inadvertence,
                     6 incompetence, unskillfulness, or a failure to take precautions’ but rather rises to the level

                     7 of a ‘conscious choice of a course of action…with knowledge of the serious danger to

                     8 others involved in it.’” [Citation omitted] Delaney, supra, 20 Cal. 4th, at 31-32.

                     9 Moreover, “neglect” as used in the Elder Abuse Act, “covers an area of misconduct
                    10 distinct from ‘professional negligence.’ As used in the Act, neglect refers not to the

                    11 substandard performance of medical services but rather, to the ‘failure of those

                    12 responsible for attending to the basic needs and comforts of elderly or dependent

                    13 adults, regardless of their professional standing, to carry out their custodial

                    14 obligations.’ [Citations omitted.] Thus, the statutory definition of ‘neglect’ speaks not of

                    15 the undertaking of medical services, but of the failure to provide medical care.”

                    16 [Emphasis added.]. Covenant Care, Inc. v. Superior Court, 32 Cal. 4th 771, 783 (2004).

                    17 “Even gross negligence committed in the provision of professional services does not

                    18 rise to the level of egregious conduct intended to be actionable under the Act.

                    19 Covenant Care, supra, at 785. [Emphasis added.] Therefore, Plaintiff fails to plead facts

                    20 to show how Defendants’ conduct was reckless.

                    21         Moreover, Plaintiff’s allegations against Defendants relate to their role as the
                    22 employers of the administration staff responsible for operation of Parkwest and the staff

                    23 providing care to Mr. Cortez. Thus, to be entitled to recover any damages or attorney’s

                    24 fees under the Elder Abuse Act, Plaintiffs must allege facts establishing that (1) the

                    25 Defendant employers had advance knowledge of the unfitness of the employee and

                    26 employed him or her with a conscious disregard of the rights or safety of others or

                    27 authorized; or (2) they ratified the wrongful conduct for which the damages are awarded

                    28 or was personally guilty of oppression, fraud, or malice. Moreover, “[w]ith respect to a
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                     1 corporate employer, the advance knowledge and conscious disregard, authorization,

                     2 ratification or act of oppression, fraud, or malice must be on the part of an officer,

                     3 director, or managing agent of the corporation.” See Cal. Welf. & Inst. Code § 15657(c)

                     4 and Cal. Civ. Code § 3294(b).

                     5         Here, Plaintiff alleges conclusions that Defendants authorized or ratified the
                     6 misconduct of the facility and had advance knowledge of the unfitness of the employees

                     7 who committed the acts and employed them with a knowing disregard of the rights and

                     8 safety of others. (See RFJN–Ex.1, ¶ 39, 49.) Thus, Plaintiff has failed to plead facts, as

                     9 opposed to conclusions, supporting their Elder Abuse Act claim. Therefore, Plaintiff’s
                    10 cause of action for elder abuse/neglect should be dismissed.

                    11 VII.    PLAINTIFF FAILED TO STATE A CAUSE OF ACTION FOR NEGLIGENCE
                    12         To allege a cause of action for negligence, Plaintiff must plead facts establishing
                    13 that: (1) Defendants were negligent by breaching the applicable standard of care; (2)

                    14 Plaintiff was injured; and (3) Defendants’ negligence caused Plaintiff’s injuries. Bushling

                    15 v. Fremont Medical Center, 117 Cal. App. 4th 493, 507 (2004).

                    16         First, as detailed herein, Defendants have immunity under the PREP Act as
                    17 Plaintiff’s claims relate to the use of covered countermeasures and/or the management

                    18 and operation of Parkwest’s infection control countermeasures program. Further, while

                    19 Plaintiff pleads that Parkwest was negligent, Plaintiff fails to plead facts alleging that Mr.

                    20 Cortez suffered any recoverable damages as a result of Parkwest’s alleged negligence.

                    21 With respect to the damages recoverable in a survival action, Cal. Civ. Code § 377.24,

                    22 provides, in pertinent part, as follows:

                    23         “In an action or proceeding by a decedent’s personal representative or
                               successor in interest on the decedent’s cause of action, the damages
                    24         recoverable are limited to the loss or damage that the decedent sustained or
                               incurred before death . . . and do not include damages for pain, suffering, or
                    25         disfigurement.”
                    26         Thus, general damages are not available under the successor claim for Negligence.
                    27 The only damages available are economic damages incurred by Mr. Cortez prior to his

                    28 death. There are no such damages specifically alleged in the Complaint. Thus, the
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                     1 Negligence cause of action fails to state a claim upon which relief may be granted and

                     2 should be dismissed.

                     3 VIII. PLAINTIFF’S CAUSE OF ACTION FOR WRONGFUL DEATH FAILS
                               TO STATE A CLAIM UPON WHICH RELIEF MAY BE GRANTED
                     4

                     5         The elements of wrongful death are “(1) a ‘wrongful act or neglect’ on the part of
                     6 one or more persons that (2) ‘cause[s]’ (3) the ‘death of [another] person.’” Nogart v.

                     7 Upjohn Co., 21 Cal. 4th 383, 390 (1999). In support of Plaintiff’s cause of action for

                     8 Wrongful Death, Plaintiff alleges only that Parkwest’s violation of various federal and

                     9 state regulations were a contributing factor to Mr. Cortez’s death. (RFJN Ex. 1-
                    10 Complaint.) Plaintiff fails to set forth how the violations of the vaguely listed regulations

                    11 caused or contributed to Mr. Cortez’ death due to COVID-19. Moreover, the PREP Act

                    12 provides immunity as to Plaintiff’s state law claims, including the cause of action for

                    13 Wrongful Death.

                    14 IX.     PLAINTIFF FAILED TO PLEAD SUFFICIENT FACTS TO SUPPORT
                               CLAIMS FOR ATTORNEY’S FEES AND PUNITIVE DAMAGES
                    15
                               Cal. Civ. Code § 3294 provides, in pertinent part, as follows:
                    16
                               (b) An employer shall not be liable for damages pursuant to subdivision
                    17         (a), based upon acts of an employee of the employer, unless the
                               employer had advance knowledge of the unfitness of the employee and
                    18         employed him or her with a conscious disregard of the rights or safety
                               of others or authorized or ratified the wrongful conduct.. With respect
                    19         to a corporate employer, the advance knowledge and conscious
                               disregard, authorization, ratification or act of oppression, fraud, or
                    20         malice must be on the part of an officer, director, or managing agent
                               of the corporation.” [Emphasis added.]
                    21

                    22         Here, while Plaintiff’s Complaint contains a prayer for punitive damages pursuant
                    23 to Cal. Civ. Code § 3294 and attorney’s fees and costs pursuant to Cal. Welf. & Inst.

                    24 Code § 15657, Plaintiff failed to plead any facts relating to ratification or advanced

                    25 knowledge of the unfitness of an employee as required to recover such damages. As such,

                    26 Plaintiff has failed to plead facts sufficient to support the claims for attorney’s fees and

                    27 punitive damages, and the Complaint should be dismissed.

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& SMITH LLP                                                   25                  Case No. 2:21-cv-05172-AB-AS
ATTORNEYS AT LAW                         DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES
                   Case 2:21-cv-05172-AB-AS Document 8 Filed 07/02/21 Page 34 of 35 Page ID #:435




                     1 X.      CONCLUSION
                     2         The PREP Act’s broad applicability, complete preemption, and immunities are
                     3 intended to protect Defendants from the exact claims made by Plaintiff in this case.

                     4 Defendants are immune from suit for all claims for loss caused by, arising out of, relating

                     5 to, or resulting from their response to the COVID-19 pandemic and their administration

                     6 of covered countermeasures. To the extent very narrow exceptions to this immunity exist,

                     7 Plaintiff has failed to meet the pleading requirements, failed to exhaust the requisite pre-

                     8 litigation administrative remedies, and brought their claims in the improper forum. For

                     9 these reasons, Plaintiff’s claims must be dismissed in their entirety without leave to
                    10 amend.

                    11 DATED: July 2, 2021                          LEWIS BRISBOIS BISGAARD & SMITH LLP
                    12                                        By: /s/ Rita R. Kanno
                                                                  Kathleen M. Walker
                    13                                            Lann G. McIntyre
                                                                  Rita R. Kanno
                    14                                            Attorneys for Defendants
                                                                  PARKWEST REHABILITATIONCENTERLLC and
                    15                                            CRYSTALSOLÓRZANO
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BISGAARD
& SMITH LLP                                                   26                  Case No. 2:21-cv-05172-AB-AS
ATTORNEYS AT LAW                         DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES
                   Case 2:21-cv-05172-AB-AS Document 8 Filed 07/02/21 Page 35 of 35 Page ID #:436




                     1                              CERTIFICATE OF SERVICE
                                     Lucia Cortez, et al. v. Parkwest Rehabilitation Center, LLC, et al.
                     2                   USDC,-CD, Court Case No. 2:21-cv-05172-AB-AS
                     3 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO

                     4        At the time of service, I was over 18 years of age and not a party to the action. My
                       business address is 550 West C Street, Suite 1700, San Diego, CA 92101. I am employed
                     5 in the office of a member of the bar of this Court at whose direction the service was made.

                     6         On July 2, 2021, I served the following document:
                     7 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF LUCIA
                         CORTEZ’ COMPLAINT; MEMORANDUM OF POINTS AND AUTHORITIES INSUPPORT
                     8 THEREOF

                     9          I served the document on the following persons at the following address (including
                         a fax number and email addresses, if applicable):
                    10

                    11
                          Scott C. Glovsky                           Tel: 626.243.5598
                          Steven Messner                             Fax: 866.243.2243
                    12
                          Law Offices of Scott Glovsky, APC          Email: Sglovsky@scottglovskylaw.com
                          343 Harvard Avenue                                Smessner@scottglovskylaw.com
                    13
                          Claremont, CA 91711
                          Attorneys for Plaintiffs
                    14

                    15         The document was served by the following means:

                    16  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed
                         the document with the Clerk of the Court using the CM/ECF system.
                    17
                        (BY ELECTRONIC TRANSMISSION ONLY) Only by emailing the document to
                    18 the persons at the email addresses listed above based on notice provided on March 16,
                       2020 that, during the Coronavirus (COVID-19) pandemic, this office will be working
                    19 remotely, not able to send physical mail as usual, and is therefore using only electronic
                       mail. No electronic message or other indication that the transmission was unsuccessful
                    20 was received within a reasonable time after the transmission.

                    21          I declare under penalty of perjury under the laws of the United States of America
                         that the foregoing is true and correct.
                    22
                         Dated: July 2, 2021                          /s/ Kimberly Dammeyer
                    23                                                Kimberly Dammeyer

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LEWIS
BRISBOIS
BISGAARD                                                                                   Case No. 2:21-cv-05172-AB-AS
& SMITH LLP
ATTORNEYS AT LAW                                         CERTIFICATE OF SERVICE
